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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION


  DONNA CURLING, ET AL.,
  Plaintiffs,
                                                 Civil Action No. 1:17-CV-2989-AT
  v.

  BRIAN KEMP, ET AL.,
  Defendants.

                 PROPOSED ORDER ON SCANNER RELIEF

       This matter is before the Court on the Coalition Plaintiffs’ submission of a

proposed order to address scanner/tabulator settings, which the Court on October

11, 2020, ordered Coalition Plaintiffs to submit. (Doc. 964 at 141–42.)

       Upon considering the Coalition Plaintiffs’ proposed remedy and the

supporting expert declaration of Harri Hursti, the response from the Defendants,

and the evidence and pleadings of record, the Court finds good cause to alter or

amend its prior Opinion and Order (Doc. 964) and that Opinion and Order is

hereby AMENDED as follows:

       UNTIL FURTHER ORDER OF THIS COURT:

       Effective immediately for each scheduled primary, general, and runoff

election, the Secretary of State IS ORDERED to direct every county election
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superintendent, before scanning ballots using the Dominion ImageCast Central

(ICC) Scanning Device, and using instructions shown in the Dominion Georgia

County Users Guide 5.5A: (1) to set their ICC Scanning Devices’ scanner

Brightness setting to a value of twenty-five (25), and (2) to maintain all other

Georgia default settings for their ICC Scanning Devices.

      IT IS SO ORDERED this ___ day of _____, _______.

                                       ________________________
                                       Amy Totenberg
                                       United States District Court Judge




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    Respectfully submitted this 26th day of October, 2020.

/s/ Bruce P. Brown                        /s/ Robert A. McGuire, III
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                     Ricardo Davis & Megan Missett




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DONNA CURLING, ET AL.,
Plaintiffs,
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v.

BRIAN KEMP, ET AL.,
Defendants.


                     CERTIFICATE OF COMPLIANCE
      I hereby certify that the foregoing document has been prepared in

accordance with the font type and margin requirements of LR 5.1, using font

type of Times New Roman and a point size of 14.

                                               /s/ Bruce P. Brown
                                               Bruce P. Brown




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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
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  DONNA CURLING, ET AL.,
  Plaintiffs,
                                                  Civil Action No. 1:17-CV-2989-AT
  v.

  BRIAN KEMP, ET AL.,
  Defendants.


                          CERTIFICATE OF SERVICE

       I hereby certify that on October 26, 2020, a copy of the foregoing was

electronically filed with the Clerk of Court using the CM/ECF system, which will

automatically send notification of such filing to all attorneys of record.

                                                     /s/ Bruce P. Brown
                                                     Bruce P. Brown




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